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Attorneys for Defendant
Kyocera Document Solutions Northwest, Inc.

                     IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF ALASKA AT ANCHORAGE


GARNESS ENGINEERING GROUP,                )
LTD.,                                     )
                                          )
                   Plaintiff,             ) Case No. 3:19-cv-00041-SLG
                                          )
       v.                                 )
                                          )
KYOCERA DOCUMENT                          )
SOLUTIONS NORTHWEST, INC.,                )
                                          )
                   Defendant.             )
                                          )

             JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       It is hereby stipulated and agreed by and between the parties hereto, through the

undersigned counsel, and pursuant to Rule 41(a) of the Federal Rules of Civil Procedure,

that all claims which were or could have been brought in the captioned matter by Plaintiff

Garness Engineering Group, Ltd. against Defendant Kyocera Document Solutions

Northwest, Inc. be dismissed with prejudice, each party to bear its own costs and attorney’s



JOINT STIPULATION FOR DISMISSAL                      Garness Engineering Group, Ltd. v. Kyocera
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                                                                  Case No. 3:19-cv-00041-SLG



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fees, on the ground and for the reason all issues raised herein have been fully compromised

and settled.



       DATED: September 26, 2019.
                                        STOKES LAWRENCE, P.S.
                                        Attorneys for Kyocera Document Solutions
                                        Northwest, LLC

                                        By:/s/Caryn Geraghty Jorgensen
                                            Caryn Geraghty Jorgensen
                                            ABA No. 0908036
       DATED: September 26, 2019.

                                        WOELBER & COLE, LLC
                                        Attorneys for Garness Engineering Group, Ltd.



                                         By: /s/Brent R. Cole
                                             Brent R. Cole
                                             ABA No. 8606074




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                             CERTIFICATE OF SERVICE

       The undersigned certifies under penalty of perjury under the laws of the State of
Alaska that on this date I caused to be served in the manner indicated a copy of the within
and foregoing document upon the following persons:

  Attorney for Plaintiff:
  Brent R. Cole                                 Via first class mail, postage prepaid
  Woelbler & Cole, LLC                          Via facsimile to
  821 N. Street, Suite 208                      Via legal messenger
  Anchorage, AK 99501                           Via e-mail | CM/ECF E-File
                                                 info@woelbercole.com
                                                 brent@woelbercole.com


       DATED: September 26, 2019.



                                          s/Jennifer Seeley
                                          Jennifer Seeley




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